  15-36867-cgm               Doc 6         Filed 10/11/15          Entered 10/11/15 00:54:07             Main Document
                                                                  Pg 1 of 10
                                                                                                                Revised 7/1/13
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
In re                                                                         Case No. 15- 36867             (cgm)

William Bennett Martin and Lynne Martin,                                      CHAPTER 13 PLAN

                                                        Debtor(s).
SSN xxx-xx-4488            SSN xxx-xx-2554
-------------------------------------------------------------------x
Plan Definitions: If this is a joint case, use of the term “Debtor” shall also mean Debtors. The term “Trustee” shall always
refer to Jeffrey L. Sapir, the Chapter 13 Standing Trustee for this court, or his substitute. The term “Bankruptcy Rule” shall
refer to the Federal Rules of Bankruptcy Procedure. The term “Local Rule” shall refer to the Local Rules of Bankruptcy
Procedure of the United States Bankruptcy Court for the Southern District of New York. The term “Petition” refers to
Debtor’s bankruptcy petition filed with the court on October 11, 2015. The term “Real Property Used as a Principal
Residence” includes cooperative apartments.
     This is an Amended or Modified Plan. The reasons for filing this Amended or Modified Plan are:
                                                                                          .

In all respects, this Plan shall comply with the provisions of the Bankruptcy Code, Bankruptcy Rules and Local Rules.

Section A                    The future earnings of Debtor are submitted to the supervision and control of the Trustee. Debtor will
Plan Payments and            make the first Plan payment no later than thirty (30) days after the date this Petition was filed. The
Payment Duration             Debtor shall make 60 [sixty] monthly payments to the Trustee as follows:
                                        $300 each month, from November, 2015 through October, 2020.
                                        $      each month, from [month]            , 20 through [month]                       , 20 .
                                        $      each month, from [month]            , 20 through [month]                       , 20 .
                                            Lump-sum payment(s) in the following amount(s):


                                  All tax refunds in excess of $1500 (less any cash exemptions in the first year, if applicable).
                                 Pursuant to 11 U.S.C. § 1325(b)(4), the applicable commitment period is 60 months, or
                                 Pursuant to 11 U.S.C. § 1325(b)(4), the applicable commitment period is 36 months.
                                 Debtor’s annual commitment period is 36 months and Debtor moves to extend to 60 months for
                             the following reasons: (check all that apply)
                                     Debtor is not able to propose a feasible plan in a period of less than 60 months. Debtor’s
                                 proposed monthly payment will constitute an affordable budget that the Debtor will be able to
                                 maintain.
                                     Payments greater than that proposed by this plan for 60 months would create an economic
                                 hardship for the Debtor.
                                     Creditors will not be prejudiced by this application for extension of Debtor’s plan payments
                                 from 36 to 60 months.


                             The Debtor will pay the amounts listed above to the Trustee by bank check, certified check, teller’s
Payment Terms
                                                                       -1-
  15-36867-cgm          Doc 6      Filed 10/11/15        Entered 10/11/15 00:54:07                 Main Document
                                                        Pg 2 of 10
                        check, or money order sent to the following address:
                                  Jeffrey L. Sapir, Esq., Chapter 13 Trustee
                                  399 Knollwood Road, Suite 102
                                  White Plains, New York 10603
                        OPTIONAL: Debtor may pay his or her Plan payments to the Trustee by way of an employer pay
                        order, pursuant to 11 U.S.C. § 1325(c). If Debtor selects this option, please check here:
                        Upon selecting this option, Debtor hereby consents to the immediate entry of an order directing
                        Debtor’s employer to deduct from Debtor’s wages the amount specified in this section and transmit
                        that amount directly to the Trustee on Debtor’s behalf. Debtor also agrees to notify the Trustee
                        immediately upon change or termination of employment. A proposed order outlining Debtor’s
                        intention shall be submitted to the court for consideration upon the filing of this Plan.
                           Non-Debtor Contributions. Identify the source and monthly amount to be contributed to the Plan
                        from any person or entity other than the Debtor (a “Non-Debtor Contributor”):
                                                                      .
                        Prior to confirmation of this Plan, each Non-Debtor Contributor must either (1) file an affidavit with
                        the court confirming the amounts that will be contributed to the Plan or (2) consent to entry of an
                        employer pay order for the amount to be contributed to the Plan.

Section B               Pursuant to 28 U.S.C. § 586(e), the Trustee may collect the percentage fee from all payments and
Trustee’s Fee           property received, not to exceed 10%.
Section C                   By checking this box and completing this section, the Debtor requests loss mitigation pursuant to
Loss Mitigation         Local Rule 9019-2, which establishes a court-ordered loss mitigation program, pursuant to which
(Optional)              parties may deal with issues such as a loan modification, loan refinance, short sale, or surrender in full
                        satisfaction, concerning the Debtor’s Real Property Used as a Principal Residence.
This section applies
only to the Debtor’s    The Debtor hereby permits the Secured Creditor(s) listed above to contact (check all that apply):
Real Property Used
                                     The Debtor directly.
as a Principal
                                     Debtor’s bankruptcy counsel.
Residence.
                                     Other:                                    .
                        (Debtor is not required to dismiss this bankruptcy Petition during the loss mitigation discussions. Any
                        agreement reached during the loss mitigation discussions may be approved pursuant to an amended
                        plan, and the terms may be set forth in Section H, below.)
                        Except as otherwise ordered by the court, the Trustee will make disbursements to creditors after the
                        court enters an order confirming this Plan. Unless otherwise provided in Section H (below),
                        disbursements by the Trustee shall be pro rata as outlined below.
Section D
Treatment of Claims
   See Section H,
Varying Provisions.

Category 1              Attorney’s fees. Counsel for the Debtor has received a prepetition retainer of $2,535, to be applied
Attorney’s Fees         against fees and costs incurred. Fees and costs exceeding the retainer of $2,250 plus any non-base
pursuant to 11 U.S.C.   fees that may be due and payable shall be paid from funds held by the Chapter 13 Trustee as an
§ 507(a)(2).            administrative expense after application to and approval by the court pursuant to Bankruptcy Rule
                        2016.
   Not Applicable.
Category 2              Category 2 applies only to claims secured by a mortgage on the Debtor’s Real Property Used as a
Claims Secured by a     Principal Residence.
Mortgage on the
                        Category 2 Definitions: For the purposes of this Category 2, any reference to the term “Secured
Debtor’s Real
                        Creditor” means mortgagees, a creditor whose interest is secured by a mortgage on Debtor’s real
Property Used as a
                        property, a holder and/or servicer of a claim secured by a lien, mortgage and/or deed of trust and/or
Principal Residence
                        any other similarly situated creditor, servicing agent and/or their assigns. The term “Mortgage” shall
   Not Applicable.      include references to mortgages, liens, deeds of trust and any other similarly situated interest in the
                        Debtor’s Real Property Used as a Principal Residence. The term “Contract” shall refer to any contract
   See Section H,
                        or similar agreement pertaining to the Mortgage. The term “Prepetition Arrearages” shall refer to an
Varying Provisions.
                        amount owed by the Debtor to the Secured Creditor prior to the filing of Debtor’s petition. The term
                                                            -2-
15-36867-cgm   Doc 6       Filed 10/11/15        Entered 10/11/15 00:54:07                  Main Document
                                                Pg 3 of 10
               “Post-Petition Payment” means any payment that first becomes due and payable by the Debtor to the
               Secured Creditor after the filing of the petition pursuant to the Mortgage or Contract.
               Confirmation of this Plan shall impose an affirmative duty on the Secured Creditor and Debtor to do
               all of the following, as ordered:
               (a) Prepetition Arrearages.
               (i) For purposes of this Plan, Prepetition Arrearages shall include all sums included in the allowed
               claim and shall have a “0” balance upon entry of the Discharge Order in this case. In the event that a
               Secured Creditor listed in this section fails to timely file a proof of claim in this case, by this Plan the
               Debtor shall be deemed to have timely filed a proof of claim on behalf of each such Secured Creditor
               pursuant to 11 U.S.C. § 501(c), in the amount set forth below in Section D, Category 2(a)(iv).
               (ii) No interest will be paid on Prepetition Arrearages unless otherwise stated.
               (iii) Payments made by the Trustee on Debtor’s Prepetition Arrearages shall be applied only to those
               Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.
               (iv) Information Regarding the Arrearages.
                Secured Creditor &                 Value of Collateral                            Arrearage
                Property Description               and Valuation Method       Arrearage           Owed As Of
                                                                              Amount
                IndyMac/OneWest                    $195,000                   $6,249              Filing Date

                Arrearage To Be Paid By
                the Trustee through the
                Plan



               (v) If Debtor pays the amount(s) specified in section (iv) (above), while making all required Post-
               Petition Payments (see below), Debtor’s mortgage will be reinstated according to its original terms,
               extinguishing any right of the Secured Creditor to recover any amount alleged to have arisen prior to
               the filing of Debtor’s petition.
               (b) Post-Petition Payments.
               Debtor shall pay the following Post-Petition Payments directly to the Secured Creditor listed below
               during the pendency of the Plan:
                Secured Creditor &                                           Payment
                Property Description                                         Amount         Payment Timing
                IndyMac/OneWest                                              $1,229         Monthly




                                                    -3-
  15-36867-cgm        Doc 6      Filed 10/11/15       Entered 10/11/15 00:54:07                Main Document
                                                     Pg 4 of 10
                      A Secured Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section
                      must comply with Section E, below, with regard to any Notice of Contract Change (as defined in
                      Section E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor
                      shall make the Post-Petition Payments in the amount set forth on the most recent Notice of Contract
                      Change or other applicable notice as required by Section E or Bankruptcy Rule 3002.1.
                      (c) Return and/or Reallocation of Distribution Payment Made to Secured Creditor.
                      If a Secured Creditor withdraws its claim, the sum allocated towards the payment of the Secured
                      Creditor’s claim shall be distributed by the Trustee to Debtor’s remaining creditors. If the Secured
                      Creditor has received monies from the Trustee (Distribution Payment) and returns those monies to the
                      Trustee, the monies returned shall be distributed to the Debtor’s remaining creditors. If Debtor has
                      proposed a plan that repays his or her creditors in full, then these monies will be returned to the
                      Debtor.
                      (d) Important Additional Provisions
                      Secured Creditors in Category 2 must comply with the “Additional Terms Applicable to Creditors and
                      Secured Creditors” in Section E, below, regarding the following: (1) any claim for additional amounts
                      during the pendency of the Debtor’s case due to a change in the terms of the Mortgage; (2) any claim
                      for Outstanding Obligations (defined below) that may arise during the pendency of the Debtor’s case;
                      or (3) any claim for compensation of services rendered or expenses incurred by the Secured Creditor
                      during the pendency of the Debtor’s case. Failure to comply with Section E may result in
                      disallowance of such claims.
Category 3            Pursuant to 11 U.S.C. § 1322(b), Debtor assumes or rejects the following unexpired lease(s) or
Executory Contracts   executory contract(s). For an executory contract or unexpired lease with an arrearage to cure, the
& Unexpired Leases    arrearage will be cured in the Plan with regular monthly payments to be paid directly to the creditor or
                      landlord (“Creditor”) by the Debtor. The arrearage amount will be adjusted to the amount set forth in
   Not Applicable.    the Creditor’s proof of claim, unless an objection to such amount is filed, in which event it shall be
                      adjusted to the amount allowed by the court.
   See Section H,
                      (a) Assumed.
Varying Provisions.
                       Creditor &
                       Property Description               Estimated Arrearage Amount         Arrearage Through Date
                                                          $0                                 [Date]
                      (b) Rejected.
                       Creditor &
                       Property Description               Estimated Arrearage Amount         Arrearage Through Date
                       [Creditor name or state            $[Amount]                          [Date]
                       “none”]
                       [Address and brief property
                       description]
                       [Add rows as needed]
                      (c) Post-Petition Payments for Assumed Executory Contracts and Unexpired Leases.
                      Debtor shall make the following Post-Petition Payments directly to the Creditor:
                       Creditor &
                       Property Description               Payment Amount                     Payment Timing




                                                         -4-
15-36867-cgm   Doc 6      Filed 10/11/15      Entered 10/11/15 00:54:07               Main Document
                                             Pg 5 of 10
               A Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section must
               comply with Section E, below, with regard to any Notice of Contract Change (as defined in Section E)
               or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall
               make the Post-Petition Payments in the amount set forth on the most recent Notice of Contract Change
               or other applicable notice as required by Section E or Bankruptcy Rule 3002.1.
               (d) Important Additional Provisions.
               Creditors in Category 3 must comply with the “Additional Terms Applicable to Creditors and Secured
               Creditors” in Section E, below, regarding any of the following: (1) any claim for additional amounts
               during the pendency of the Debtor’s case due to a change in the terms of the executory contract or
               unexpired lease; (2) any claim for Outstanding Obligations (defined below) that may arise during the
               pendency of the Debtor’s case; or (3) any claim for compensation of services rendered or expenses
               incurred by the Creditor during the pendency of the Debtor’s case. Failure to comply with Section E
               may result in disallowance of such claims.




                                                 -5-
  15-36867-cgm         Doc 6       Filed 10/11/15       Entered 10/11/15 00:54:07                  Main Document
                                                       Pg 6 of 10
Category 4             Category 4 applies to claims secured by personal property, a combination of personal and real
Claims Secured by      property, and real property not used as the Debtor’s principal residence.
Personal Property, a
                       Category 4 Definitions: The term “Secured Claim” shall refer to claims secured by personal property,
Combination of
                       a combination of personal and real property, and real property not used as the Debtor’s principal
Personal and Real
                       residence. For purposes of this Category 4, any reference to the term “Secured Creditor” shall include,
Property, and Real
                       in addition to the definition of Secured Creditor in Category 2, any creditor whose interest is secured
Property Not Used as
                       by an interest in any of the Debtor’s property.
Debtor’s Principal
Residence              (a) List of Category 4 Claims.
   Not Applicable.     Pursuant to 11 U.S.C. § 1325(a), the Secured Creditor listed below shall be paid the amount shown as
                       their Secured Claim under this Plan. However, if the amount listed in the Secured Creditor’s proof of
   See Section H,
                       claim is less than the amount of the Secured Claim listed below, the lesser of the two amounts will be
Varying Provisions.
                       paid. In the event that a Secured Creditor listed below fails to timely file a proof of claim in this case,
                       by this Plan the Debtor shall be deemed to have timely filed a proof of claim on behalf of each such
                       Secured Creditor, in the amount set forth below.
                        Creditor and                                 Value of Collateral and       Amount To Be      Interest
                        Property Description      Debt Amount        Valuation Method              Paid on Claim     Rate
                        [name, property           $[Amount]          $[value]                      $[Amount to       [Interest
                        address and                                  [valuation method]            be paid or        rate, even
                        description or state                                                       amount to pay     if zero]
                        “none”]                                                                    debt in full]
                        [Add rows as needed]
                       (b) Adequate Protection.
                       If applicable, adequate protection shall be provided as follows:
                       [describe and provide the basis for calculation, or state not applicable]
                       (c) Post-Petition Payments.
                       Debtor shall pay the following Post-Petition Payments directly to the Secured Creditor listed below
                       during the pendency of the Plan:
                        Secured Creditor &                                          Payment
                        Property Description                                        Amount         Payment Timing
                        [Name or state “none”]                                      $[Amount]      [How Often
                        [Address Where Post-Petition Payments will be sent]                        Payment is Due]
                        [Add rows as needed]
                       A Secured Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section
                       must comply with Section E, below, with regard to any Notice of Contract Change (as defined in
                       Section E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor
                       shall make the Post-Petition Payments in the amount set forth on the most recent Notice of Contract
                       Change or other applicable notice as required by Section E or Bankruptcy Rule 3002.1.
                       (d) Return and/or Reallocation of Distribution Payment Made to Secured Creditor.
                       If a Secured Creditor withdraws its claim, the sum allocated towards the payment of the Secured
                       Creditor’s claim shall be distributed by the Trustee to Debtor’s remaining creditors. If the Secured
                       Creditor has received monies from the Trustee (Distribution Payment) and returns those monies to the
                       Trustee, the monies returned shall be distributed to the Debtor’s remaining creditors. If Debtor has
                       proposed a plan that repays his or her creditors in full, then these monies will be returned to the
                       Debtor.




                                                            -6-
  15-36867-cgm        Doc 6      Filed 10/11/15        Entered 10/11/15 00:54:07                Main Document
                                                      Pg 7 of 10
                      (e) Important Additional Provisions.
                      In addition to any requirements set forth in any applicable Bankruptcy Rules, Secured Creditors in
                      Category 4 must comply with the “Additional Terms Applicable to Creditors and Secured Creditors”
                      in Section E, below, regarding the following: (1) any claim for additional amounts during the
                      pendency of the Debtor’s case due to a change in the terms of the Contract; (2) any claim for
                      Outstanding Obligations (defined below) that may arise during the pendency of the Debtor’s case; or
                      (3) any claim for compensation of services rendered or expenses incurred by the Secured Creditor
                      during the pendency of the Debtor’s case. Failure to comply with Section E may result in
                      disallowance of such claims.
Category 5            All allowed claims entitled to pro rata priority treatment under 11 U.S.C. § 507 shall be paid in full in
Priority, Unsecured   the following order:
Claims
                      (a) Unsecured Domestic Support Obligations.
   Not Applicable.
                      Debtor shall remain current on all such obligations that come due after filing the Debtor’s Petition.
   See Section H,     Unpaid obligations incurred before the Petition date are to be cured by the Plan payments.
Varying Provisions.
                      Creditor Status                                       Estimated Arrearages
                      [Status, e.g., child, spouse,                         $[Amount Owed through Date]
                      former spouse or domestic partner]
                      [Add rows as needed]
                      (b) Other Unsecured Priority Claims.
                      Creditor                             Type of Priority Debt              Amount Owed
                      Internal Revenue Service             Tax Debt                             $8,000


Category 6
Codebtor Claims
                      Category 6 Definition: The term “Codebtor” refers to                                   .
   Not Applicable.
                      The following Codebtor claims are to be paid pro rata until the allowed amounts of such claims are
   See Section H,     paid in full.
Varying Provisions.
                      Creditor                          Codebtor Name                     Estimated Debt Amount
                      [Creditor name or state           [Codebtor Name]                   $ [Amount]
                      “none”]
Category 7            [Add rows as needed]
Nonpriority,
                      Allowed unsecured, nonpriority claims shall be paid pro rata from the balance of payments made
Unsecured Claims.
                      under the Plan.
   Not Applicable.
   See Section H,
Varying Provisions.




                                                          -7-
  15-36867-cgm      Doc 6       Filed 10/11/15       Entered 10/11/15 00:54:07                 Main Document
                                                    Pg 8 of 10

Section E           Section E Definitions: The definitions in Section D also apply to this Section. The term “Agreement”
Additional Terms    includes any executory contract, unexpired lease, Mortgage (as defined in Section D) or Contract (as
Applicable to       defined in Section D).
Creditors and
                    I. SECURED CREDITOR WITH SECURITY INTEREST IN DEBTOR’S PRINCIPAL
Secured Creditors
                    RESIDENCE. A Secured Creditor with a security interest in the Debtor’s principal residence shall
                    comply with the provisions of Bankruptcy Rule 3002.1, including the timely filing of the notices
                    required by subdivisions (b) and (c) of Bankruptcy Rule 3002.1 and the statement required by
                    subdivision (g) of that rule. A Secured Creditor’s compliance with the provisions of Bankruptcy Rule
                    3002.1 satisfies any duty to provide notice under this Section E.
                    II. CREDITOR OR SECURED CREDITOR WITH SECURITY INTEREST IN PROPERTY
                    OTHER THAN THE DEBTOR’S PRINCIPAL RESIDENCE.
                    (1) Notice of Contract Change.
                    (a) At any time during the pendency of Debtor’s case, a Creditor or Secured Creditor must file on the
                    Claims Register and serve upon the Trustee, Debtor, and Debtor’s counsel (if applicable), at least
                    thirty (30) days before the change is to take place, or a payment at a new amount is due, a notice (the
                    “Notice of Contract Change”) outlining any change(s) in the amount owed by Debtor under any
                    Agreement, including any change(s) in the interest rate, escrow payment requirement, insurance
                    premiums, change in payment address or other similar matters impacting the amount owed by Debtor
                    under such Agreement (each a “Contract Change”). Additional amounts owed by the Debtor due to a
                    Contract Change may be disallowed by the Court to the extent the amounts (i) were not reflected in a
                    Notice of Contract Change filed as required by this subsection, and (ii) exceed the amount set forth in
                    the proof of claim filed by the Creditor or Secured Creditor or deemed filed under this Plan.
                    (b) Within thirty (30) days of receipt of the Notice of Contract Change (defined above), Debtor shall
                    either adjust the Post-Petition Payment to the amount set forth in the Notice of Contract Change, or
                    file a motion with the court, objecting to the payment amount listed in the Notice of Contract Change
                    and the stating reasons for the objection.
                    (c) The provisions set forth in this article are in addition to any requirements set forth in any
                    applicable Bankruptcy Rules.
                    (2) Notice of Outstanding Obligations.
                    (a) At any time during the pendency of the Debtor’s case, a Creditor or Secured Creditor shall file on
                    the Claims Register and serve upon the Trustee, Debtor, and Debtor’s counsel (if applicable) a notice
                    containing an itemization of any obligations arising after the filing of this case that the Creditor or
                    Secured Creditor believes are recoverable against the Debtor or against the Debtor’s property (the
                    “Outstanding Obligations”). Outstanding Obligations include, but are not limited to, all fees,
                    expenses, or charges incurred in connection with any Agreement, such as any amounts that are due or
                    past due related to unpaid escrow or escrow arrearages; insurance premiums; appraisal costs and fees;
                    taxes; costs associated with the maintenance and/or upkeep of the property; and other similar items.
                    Within thirty (30) days after the date such Outstanding Obligations were incurred, a Notice of
                    Outstanding Obligations shall be filed on the Claims Register, sworn to by the Creditor or Secured
                    Creditor pursuant to 28 U.S.C. § 1746, referencing the paragraph(s) (or specific section(s) and page
                    number(s)) in the Agreement that allows for the reimbursement of the services and/or expenses.
                    (b) The Debtor reserves the right to file a motion with the court, objecting to the amounts listed in the
                    Notice of Outstanding Obligations and stating the reasons for the objection. The bankruptcy court
                    shall retain jurisdiction to resolve disputes relating to any Notice of Outstanding Obligations.
                    (c) The provisions set forth in this article are in addition to any requirements set forth in any
                    applicable Bankruptcy Rules.




                                                        -8-
  15-36867-cgm         Doc 6       Filed 10/11/15       Entered 10/11/15 00:54:07                 Main Document
                                                       Pg 9 of 10

                       III. APPLICATION FOR REIMBURSEMENT OF COSTS AND FEES OF PROFESSIONALS.
                       Pursuant to Bankruptcy Rule 2016 and Local Rule 2016-1, and in addition to any required notice or
                       statement to be filed under Bankruptcy Rule 3002.1 (if applicable) or this Section E, a Creditor or
                       Secured Creditor must file an application with the court if it wishes to be compensated from the
                       Debtor or the estate for services rendered or expenses incurred by its professionals after Debtor’s
                       filing of this Petition and before the issuance of the Notice of Discharge. The application shall include
                       a detailed statement setting forth (1) the services rendered, time expended and expenses incurred, and
                       (2) the amounts requested. The application shall include a statement sworn to by the Creditor or
                       Secured Creditor pursuant to 28 U.S.C. § 1746 that references the paragraph number(s) (or specific
                       section(s) and page number(s)) in the Agreement that allows for the reimbursement of the services
                       and/or expenses. A Creditor or Secured Creditor may request approval of multiple fees and expenses
                       in a single application, and any application under this subsection must be filed not later than thirty (30)
                       days after the issuance of the Notice of Discharge in this case. Failure to comply with the
                       provisions in this subsection may result in disallowance by the Court of such fees and expenses.
                       The Debtor reserves the right to object to any application filed under this subsection. This subsection
                       will not apply to the extent that the court has previously approved a Creditor or Secured Creditor’s
                       fees or expenses pursuant to an order or conditional order.
                       Except those expunged by order after appropriate notice pursuant to a motion or adversary proceeding,
Section F
                       a Secured Creditor shall retain its liens as provided in 11 U.S.C. § 1325(a).
Lien Retention
                       Debtor surrenders the following property and upon confirmation of this Plan or as otherwise ordered
Section G
                       by the court, bankruptcy stays are lifted as to the collateral to be surrendered.
Surrendered Property
                        Claimant                                                        Property To Be Surrendered
   Not Applicable.
                        [Name or state “none”]                                         [Brief description of property]
                        [Add rows as needed]
                       The Debtor submits the following provisions that vary from the Local Plan Form, Sections (A)
Section H
                       through (G):
Varying Provisions
                        [Please state “none,” or state the provision with reference to relevant paragraphs.]

                       (1) Tax Returns. While the case is pending, the Debtor shall timely file tax returns and pay taxes or
Section I
                       obtain appropriate extensions and send a copy of either the tax return or the extension to the Trustee
Tax Returns,
                       pursuant to 11 U.S.C. § 521(f) within thirty (30) days of filing with the taxing authority.
Operating Reports
and Tax Refunds        (2) Operating Reports. If Debtor is self-employed or operates a business either individually or in a
                       corporate capacity, Debtor shall provide the Trustee with monthly operating reports throughout the
                       entirety of the case.
                       (3) Tax Refunds. The Debtor may voluntarily elect to contribute tax refunds as lump-sum payments
                       in Section A of this Plan. Unless the Debtor has proposed a plan that repays his or her creditors in
                       full, the court may order the Debtor to contribute a portion of the tax refunds to the Plan. The amount
                       to be contributed shall be determined by the court on a case-by-case basis.

Section J
Funding Shortfall      Debtor will cure any funding shortfall before the Plan is deemed completed.




                                                           -9-
  15-36867-cgm       Doc 6      Filed 10/11/15 Entered 10/11/15 00:54:07                      Main Document
                                              Pg 10 of 10
Section K             (1) Insurance. Debtor shall maintain insurance as required by law, contract, security
Debtor’s Duties      agreement or Order of this court.
                     (2) Payment Records to Trustee. Debtor shall keep and maintain records of payments made
                     to Trustee.
                     (3) Payment Records to Secured Creditor(s). Debtor shall keep and maintain records of post-
                     petition payments made to Secured Creditor(s).
                     (4) Donation Receipts. Where applicable, Debtor shall keep a record of all charitable
                     donations made during the pendency of this case and maintain receipts received.
                     (5) Domestic Support Obligation(s). Debtor shall maintain a record of all domestic support
                     obligation payments paid directly to the recipient pursuant to a separation agreement, divorce
                     decree, applicable child support collection unit order or other court’s order. The Debtor must
                     also complete and sign the “Certification Regarding Domestic Support Obligations” required
                     by General Order M-338. The Certification should be returned to the Trustee when
                     submitting the last payment under this Plan.
                     (6) Change in Address. Debtor must notify the court and the Trustee if the address or contact
                     information changes during the pendency of the case. Notification must be made in writing within
                     fifteen (15) days of when the change takes place.
                     (7) Disposal of Property. Debtor shall not sell, encumber, transfer or otherwise dispose of any Real
                     Property or personal property with a value of more than $1,000 without first obtaining court approval.

                     (8) This plan or amended plan has been served on all creditors more than 28 days, plus 3
                     additional days if service is by mail, before confirmation hearing. A certificate of service as
                     required by Bankruptcy Rule 2002(b) and Local Bankruptcy Rules 3015-1(c) and 9078-1 has
                     been filed.



Debtor’s Signature   Dated: Poughkeepsie, New York
                            October 11, 2015.

                     /s/ William Martin                                /s/Lynne Martin
                          Debtor                                           Debtor

                     29 Garden St., Hyde Park, NY 12538
                           Address

Attorney’s
Signature            /s/ H. Bruce Bronson
                      Attorney for Debtor                                       Date: October 11, 2015

Attorney             I, the undersigned attorney for the Debtor, hereby certify that the foregoing chapter 13 Plan conforms
Certification        to the pre-approved chapter 13 plan promulgated pursuant to [Local Bankruptcy Rule _____] of the
                     United States Bankruptcy Court for the Southern District of New York.

                     /s/ H. Bruce Bronson
                      Attorney for Debtor                                       Date: October 11, 2015




                                                       - 10 -
